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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA : VERDICT SHEET
at Vv. -
19 Crim. 366 (LGS)
STEPHEN M. CALK,
Defendant.
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All must agree:
Financial Institution Bribery

1. How do you find the defendant Stephen M. Calk with respect to the charge of financial
institution bribery?

Guilty 4 Not Guilty
Conspiracy to Commit Financial Institution Bribery

2. How do you find the defendant Stephen M. Calk with respect to the charge of conspiracy to
commit financial institution bribery?

Guilty WU Not Guilty

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Date: July |4 2021
